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                                                                                            Jul 18, 2019
                             UNITED STATES DISTRICT COURT                                    AN GELA E. NOBLE
                                                                                            CLERK U.S. DIST. CT.
                             SOUTHERN DISTRICT OF FLORIDA                                   S.D. OF FLA. - MIAMI


                                CASE NO:      19-20442-CR-MORENO/LOUIS
                                             18 u.s.c. § 371
                                            22   u.s.c. § 2778
  UNITED STATES OF Al\1ERICA

  vs.

  BRUNELLA ZUPPONE, and
  JOHN JAMES PETERSON,

                                Defendants.



                                           INDICTMENT

         The Grand Jury charges:

                                   GENERAL ALLEGATIONS

         At all times material to this Indictment:

                                   The Statutes and Regulations

         l.     In furtherance of the national security and foreign policy interests of the United

  States, the Arms Export Control Act ("the Act"), Title 22, United States Code, Section 2778,

  authorizes the President of the United States to control the export of "defense articles" from the

  United States. The Act required that defense articles may only be exported after obtaining a

  license in accordance with the Act and regulations issued under it. 22 U.S.C. § 2778(b)(2).

         2.     The regulations promulgated pursuant to the Act, known as the International Traffic

  in Arms Regulations ("ITAR"), defined exporting to include, among other things, " [s ]ending or

  taking a defense article out of the United States in any manner." 22 C.F.R. § 120.17.

         3.     The IT AR defined a defense article as any item on the United States Munitions List
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       ("USML"). The USML set forth 21 categories of defense articles subject to export licensing

       controls by the United States Department of State's Directorate of Defense Trade Controls

       ("DDTC"). 22 C.F .R. § 121.1.

               4.      No defense article could be exported or otherwise transferred from the United

       States to a foreign country without prior license or written approval from DDTC. 22 C.F.R. §§

       123.l(a), 127.l(a)(l).    The ITAR also prohibited re-exports, transfers, transshipments, and

       diversions from foreign countries of previously exported defense articles without United States

       Department of State authorization. 22 C.F.R. § 123.9(a).

                                             The Defense Articles

               5.      The following parts for the AR-15 assault rifle were defense articles designated on

       the USML in Category I, and could not be exported from the United States without a license or

       written approval from DDTC: upper receivers, lower receivers, and trigger kits.            Neither

       BRUNELLA ZUPPONE (ZUPPONE) nor JOHN JAMES PETERSON (PETERSON) ever

       obtained a license from DDTC to export any parts for AR-15 assault rifles.

                                                   COUNT 1

               1.      Paragraphs 1 through 5 of the General Allegations are restated and re-alleged as if

       fully set forth herein.

               2.      From in or around February 2016, through on or about November 8, 2018, in
I•
1      Broward and Miami-Dade Counties, in the Southern District of Florida, and elsewhere, the

       defendants,


I                                         BRUNELLA ZUPPONE,
                                                 and
                                         JOHN JAMES PETERSON,


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  did knowingly and willfully combine, conspire, confederate and agree with each other and with

  other persons known to the Grand Jury, to commit offenses against the United States, namely, to

  knowingly and willfully export and cause the export of defense articles from the United States to

  a place outside thereof, without having first obtained a license or written approval from DDTC, in

  violation of Title 22, United States Code, Section 2778, and Title 22, Code of Federal Regulations,

  Sections 121.1, 123.1, and 127.1.

                                       Purpose of the Conspiracy

          3.      It was the purpose of the conspiracy for the defendants and their co-conspirators to

  obtain in the United States defense articles, including various parts for the AR-15 assault rifle, and

  to illegally export them, to a place outside the United States, that is, the Republic of Argentina,

  without obtaining the necessary export license or written approval from the DDTC.

                                           Manner and Means

          4.      The manner and means by which the defendant and his co-conspirators sought to

  accomplish the purpose and object of the conspiracy included, among others, the following:

          a.      ZUPPONE and PETERSON and their co-conspirators obtained in the United

  States numerous defense articles including AR-15 assault rifle parts, with the intent to export them

  without obtaining the required licenses and approvals.

          b.      ZUPPONE and PETERSON and their co-conspirators arranged and attempted to

  arrange the smuggling to the Republic of Argentina of defense articles, including the AR-15 assault

  rifle parts, falsely labeling the contents.

          c.      ZUPPONE and PETERSON and their co-conspirators undertook these activities

  willfully and without obtaining the required licenses and approvals from DDTC.


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                                               Overt Acts

          5.     In furtherance of the conspiracy and to effect its purpose and object, at least one of

  the co-conspirators committed, and caused to be committed, in the Southern District of Florida,

  and elsewhere, at least one of the following overt acts:

         a.      On or about October 8, 2018, ZUPPONE and PETERSON delivered to a U.S.

  Post Office facility in Florida two shipments containing numerous parts for AR-15 assault rifles

  for export outside the United States, which were seized while transiting through a U.S. Mail facility

  in Miami-Dade County.

         b.      On or about October 25, 2018, ZUPPONE and PETERSON delivered to a U.S.

  Post Office facility in Florida two shipments containing numerous parts for AR-15 assault rifles

  for export outside the United States, which were seized while transiting through a U.S. Mail facility

  in Miami-Dade County.

         All in violation of Title 18, United States Code, Section 3 71.

                                               COUNT2

         On or about October 8, 2018, in Miami-Dade County, in the Southern District of Florida,

  and elsewhere, the defendant,

                                     BRUNELLA ZUPPONE,
                                            and
                                    JOHN JAMES PETERSON,

  did knowingly and willfully attempt to export defense articles, namely, approximately twenty (20)

  upper receivers and forty (40) lower receivers for AR-15 assault rifles, from the United States to a

  place outside thereof, that is, Argentina, without having first obtained a license or written approval

  from the United States Department of State, Directorate of Defense Trade Controls, in violation of


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  Title 22, United States Code, Section 2778(c), Title 22, Code of Federal Regulations, Sections

  121.1, and 127.l(a)(l); and Title 18 United States Code, Section 2.

                                               COUNT3

         On or about October 25, 2018, in Miami-Dade County, in the Southern District of Florida,

  and elsewhere, the defendants,

                                     BRUNELLA ZUPPONE,
                                            and
                                    JOHN JAMES PETERSON,

  did knowingly and willfully attempt to export defense articles, namely, approximately forty (40)

  trigger kits with pistol grips for AR-15 assault rifles, from the United States to a place outside

  thereof, that is, Argentina, without having first obtained a license or written approval from the

  United States Department of State, Directorate of Defense Trade Controls, in violation of Title 22,

  United States Code, Section 2778(c), Title 22, Code of Federal Regulations, Sections 121.1, and

  127.l(a)(l); and Title 18 United States Code, Section 2.

                                   FORFEITURE ALLEGATIONS

         1.      The allegations of this Indictment are re-alleged and by this reference fully

  incorporated herein for the purpose of alleging forfeiture to the United States of America of

  property in which the defendants have an interest.

         2.      Upon conviction of a violation of Title 22, United States Code, Section 2778, as

  alleged in Counts 2 and 3 of this Indictment, or any conspiracy to commit such violation, as alleged

  in Count 1, the defendant, BRUNELLA ZUPPONE and JOHN JAMES PETERSON, shall

  forfeit to the United States (1) any property, real or personal, which constitutes or is derived from

  proceeds traceable to such violation, pursuant to Title 18, United States Code, Section


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 981(a)(l)(C), and (2) all anns or munitions of war and other articles that are intended to be or are

 being or have been exported or removed from the United States, and any vessel , vehicle and aircraft

 containing the same whi ch has been or is being used in exporting or attempti ng to export the same,

 pursuant to Title 22, United States Code, Section 40 1.

        All pursuant to Title 18, United States Code, Section 981(a)(1)(C) and Title 22, United

 States Code, Section 401, and the procedures set forth at Title 2 1, United States Code, Section 853,

 as made applicable by Title 28, United States Code, Section 246 l (c).


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 ARIANA FAJARDO ORSHAN \


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      Y
 RICARDO A. DEL TORO
 ASSISTANT UNITED STATES ATTORNEY




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                                         UNITED STATES DISTRICT COURT
                                         SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                                      CASE NO.
vs.
                                                                   CERTIFICATE OF TRIAL ATTORNEY*
BRUNELLA ZUPPONE, and
JOHN JAMES PETERSON,
            Defendants.
----------------------'-/                                          Superseding Case Information:
Court Division: (Select One)                                       New Defendant(s) Yes __ No
                                                                   Number of New Defendants
        Miami      X          Key West                             Total number of counts
        FTL                   WPB             FTP

        I do hereby certify that:
        1.       I have carefully considered the allegations of the indictment, the number of defendants, the number of probable
                 witnesses and the legal complexities of the Indictment/Information attached hereto.

        2.        I am aware that the information supplied on this statement will be relied upon by the Judges of this Court in
                  setting their calendars and scheduling criminal trials under the mandate of the Speedy Trial Act, Title 28 U.S.C.
                  Section 3161.

        3.        Interpreter:     (Yes or No)            Yes
                  List language and/or dialect            Portuguese

        4.        This case will take      ___.i.____   days for the parties to try.

        5.        Please check appropriate category and type of offense listed below:
                  (Check only one)                                         (Check only one)


        I         0    to 5 days             x                             Petty
        II        6    to 10 days                                          Minor
        III       11    to 20 days                                         Misdem.
        IV        21    to 60 days                                         Felony             x
        v         61   days and over

        6.        Has this case been previously filed in this District Court?          N~o_ _     (Yes or No)
        If yes:
        Judge:                                                         Case No.
                  (Attach copy of dispositive order)
        Has a complaint been filed in this matter?           Yes    (Yes or No)
        If yes:
        Magistrate Case Nos.                            I 9-mj-03034-LMR (Zuppone and Peterson)
        Related Miscellaneous numbers:
        Defendant(s) in federal custody as of
        Defendant(s) in state custody as of
        Rule 20 from the District of

        Is this a potential death penalty case?         No          (Yes or No)

        7.        Does this case originate from a matter pending in the Northern Region of the U.S. Attorney's Office prior to
                  October 14, 2003? _ _Yes           _x__              No
        8.        Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office prior to
                  September 1, 2007?          ___ Yes          _ _ No ~
                                                              _X




Penalty Sheet(s) attached
                                                                   RICARDO A. DEL TORO
                                                                   ASSISTANT UNITED ST ATES ATTORNEY
                                                                   Florida Bar No.957585
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f
                                     UNITED STATES DISTRICT COURT

II                                   SOUTHERN DISTRICT OF FLORIDA

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j
     Defendant's Name: BRUNELLA ZUPPONE
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II   Count#: 1


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     Conspiracy to Violate AECA

     Title 18 United States Code Section 371

     * Max. Penalty: 5 Years' Imprisonment
     Count#: 2-3

     Attempted Violation of AECA

     Title 22, United States Code, Section 2778(c)

     *Max. Penalty: 20 Years' Imprisonment

     Count#:




     *Max. Penalty:

     Count#:




     *Max. Penalty:
         *Refers only to possible term of incarceration, does not include possible fines, restitution, special
         assessments. parole terms or forfeitures that may be applicable




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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                            PENAL TY SHEET


Defendant's Name: JOHN JAMES PETERSON



Count#: 1

Conspiracy to Violate AECA

Title 18 United States Code Section 371

*Max. Penalty: 5 Years' Imprisonment

Count#: 2-3

Attempted Violation of AECA

Title 22, United States Code, Section 2778(c)

*Max. Penalty: 20 Years' Imprisonment

Count#:




*Max. Penalty:
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Count#:                                                                                                     1




*Max. Penalty:
    *Refers only to possible term of incarceration, does not include possible fines, restitution, special
    assessments, parole terms or forfeitures that may be applicable




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